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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

 MICFO, LLC,                                     )   Civil Action No. 2:18-cv-01653-DCN
                                                 )
                                    Plaintiff,   )
                                                 )
                vs.                              )
                                                 )
 ERINN LARKIN and VICTORIA                       )
 LATHAM,                                         )
                                                 )        NOTICE OF REQUEST FOR
                                 Defendants.     )       PROTECTION FROM COURT
                                                 )            APPEARANCES
                                                 )
 ERINN LARKIN, VICTORIA LATHAM                   )
                                                 )
                       Third-Party Plaintiffs,   )
                                                 )
                vs.                              )
                                                 )
 AMIR GOLESTAN, individually,                    )
                                                 )
                      Third-Party Defendant.     )
                                                 )

       M. Kathleen McTighe Mellen, appearing for Plaintiff and Counterclaim Defendant Micfo,

LLC and Third-Party Defendant Amir Golestan, hereby requests that this Court grant her

protection from Court appearances for February 1, 2019 through February 12, 2019. The request

for the protection is based upon out-of-country vacation plans with her family.




                            [SIGNATURE ON FOLLOWING PAGE]
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                              NELSON MULLINS RILEY & SCARBOROUGH LLP


                              By: /s/ M. Kathleen McTighe Mellen
                                 Merritt G. Abney
                                 Federal Bar No. 9413
                                  E-Mail: merritt.abney@nelsonmullins.com
                                  John C. McElwaine
                                  Federal Bar No. 6710
                                  E-Mail: john.mcelwaine@nelsonmullins.com
                                  M. Kathleen McTighe Mellen
                                  Federal Bar No. 11652
                                  E-Mail: katie.mellen@nelsonmullins.com
                                  151 Meeting Street / Sixth Floor
                                  Post Office Box 1806 (29402-1806)
                                  Charleston, SC 29401-2239
                                  (843) 853-5200

                              Attorneys for Micfo, LLC and Amir Golestan

Charleston, South Carolina

January 8, 2019
